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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                       450 Golden Gate Avenue
                                       San Francisco, CA 94102
                                            cand.uscourts.gov

                                          November 17, 2022

Emrah M. Sumer
Green and Noblin, PC
2200 Larkspur Landing Circle, Suite 101
Larkspur, CA 94939

Re:   Amanda Gordon v. Block, Inc.
Case Number:22-cv-06787-SK

Dear Counsel/Parties:

This matter has been randomly assigned to United States Magistrate Judge Sallie Kim for all purposes
including trial.

The magistrate judges of this district have been designated to conduct any and all proceedings in a
civil case including a jury or nonjury trial and to order the entry of a final judgment, upon the consent
of all parties.

A review of our records discloses that the Consent or Declination to Magistrate Judge Jurisdiction has
not been filed in this case. All parties are requested to complete the attached form documenting either
consent or declination and file it with the Court by December 1, 2022. This form can be found on the
Court’s website at cand.uscourts.gov/civilforms.

Please note that any party is free to withhold consent to proceed before a magistrate judge without
adverse substantive consequences.


                                             Mark B. Busby
                                             Clerk of Court, United States District Court

                                             By
                                             Melinda K. Lock, Deputy Clerk to the
                                             Honorable SALLIE KIM




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                                   1

                                   2                                       UNITED STATES DISTRICT COURT

                                   3                                      NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     AMANDA GORDON,                                        Case No.22-cv-06787-SK
                                                            Plaintiffs,
                                   6
                                                                                               CONSENT OR DECLINATION
                                                     v.
                                   7                                                           TO MAGISTRATE JUDGE
                                         BLOCK, INC., et al.,                                  JURISDICTION
                                   8
                                                            Defendants.
                                   9

                                  10

                                  11           INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you

                                  12   (if you are the party) or the party you represent (if you are an attorney in the case) choose(s) to
Northern District of California
 United States District Court




                                  13   consent or decline magistrate judge jurisdiction in this matter. Sign this form below your selection.

                                  14           ( )        Consent to Magistrate Judge Jurisdiction

                                  15                      In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to

                                  16   have a United States magistrate judge conduct all further proceedings in this case, including trial

                                  17   and entry of final judgment. I understand that appeal from the judgment shall be taken directly to

                                  18   the United States Court of Appeals for the Ninth Circuit.

                                  19                      OR

                                  20           ( )        Decline Magistrate Judge Jurisdiction

                                  21                      In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United

                                  22   States magistrate judge conduct all further proceedings in this case and I hereby request that this

                                  23   case be reassigned to a United States district judge.

                                  24   DATE:                                              NAME: ________________________________

                                  25                                                      COUNSEL FOR (OR “PRO SE”):

                                  26                                                      _______________________________________

                                  27                                                      _______________________________________
                                  28                                                      Signature

                                       REV. 9-19
